  20-05027-rbk Doc#29 Filed 07/27/20 Entered 07/27/20 12:43:59 Ntc/Hrg AP int ptys Pg 1
                                         of 1
                      UNITED STATES BANKRUPTCY COURT
                             Western District of Texas

                                                                 Bankruptcy Case
                                                                                 20−50805−rbk
                                                                            No.:
                                                                    Chapter No.: 11
IN RE: KrisJenn Ranch, LLC , Debtor(s)

                                                            Adversary Proceeding
                                                                                 20−05027−rbk
                                                                            No.:
                                                                          Judge: Ronald B. King
                                                        Krisjenn Ranch, LLC,
                                                        Krisjenn Ranch, LLC,
                                                        Series Uvalde Ranch,
                                                        Krisjenn Ranch, LLC,
                                                        Series Pipeline Row
                                                        Plaintiff
                                                   v.
                                                        DMA Properties, Inc. et
                                                        al.
                                                        Defendant



                                        NOTICE OF HEARING

PLEASE TAKE NOTICE that a hearing will be held

     at   VIA TELEPHONE: (888)278−0296; AC:9198559

     on   8/17/20 at 10:30 AM

     TELEPHONIC Hearing to Consider and Act Upon the Following: DIAL IN INFORMATION IS AS
     FOLLOWS: (888) 278−0296 Access Code 9198559# IF AN EVIDENTIARY HEARING IS REQUIRED
     PLEASE CONTACT DEANNA CASTLEBERRY @ deanna_castleberry@txwb.uscourts.gov (related
     document(s): 28 Motion For Partial Summary Judgment on the Interpretation of DMA's Net−Profits Interest
     Agreement Filed by Austin Hammer Krist for Third Pty Plaintif DMA Properties, Inc.. Hearing Scheduled
     For 8/17/2020 at 10:30 AM at VIA TELEPHONE−Conference Dial−In Number: (888)278−0296; Access
     Code: 9198559 (Castleberry, Deanna)


Dated: 7/27/20
                                                           Barry D. Knight
                                                           Clerk, U. S. Bankruptcy Court




                                                                                           [Hearing Notice (AP)] [NtchrgAPap]
